            Case 16-00667              Doc 2         Filed 11/11/16 Entered 11/11/16 14:29:19                                   Desc Stamped
                                                          Summons Page 1 of 1

                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 16−30419
             STUART GRAEME HARDMAN
                                                                                                              Debtor
             Adversary Proceeding No. 16−00667
             TOM WESOLEK
             ROSE WESOLEK
                                                                                                              Plaintiff
             v.
             STUART GRAEME HARDMAN
                                                                                                              Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: STUART GRAEME HARDMAN


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Adam B Whiteman
                                                        118 N. Clinton Street, Suite 17
                                                        Chicago, IL 60661


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Kane Courthouse
                                                        100 S 3rd Street                                Status Hearing Date and Time
                                                        Courtroom 240                                   01/06/2017 at 11:30AM
                                                        Geneva IL 60134

            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.



                  Date Issued


                  11 / 11 / 2016

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



ILNB 2012
